              Case 1:20-cv-03826-LJL Document 29 Filed 07/17/20 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TAYLOR GILBERT,                                     Civil Action No. 1:20-cv-03826 (LJL)

                    Plaintiff,

         v.

INDEED, INC., AARON SCHWARTZ,
ALEXA WACHSTEIN, GABRIELLE
VERBARO, and MICHELLE LAM

                    Defendants.



DEFENDANTS INDEED, INC., ALEXA WACHSTEIN, GABRIELLE VERBARO, AND
 MICHELLE LAM’S NOTICE OF MOTION TO COMPEL ARBITRATION, DISMISS
CLAIMS AGAINST THEM, OR IN THE ALTERNATIVE STAY THE PROCEEDINGS,
                    AND AWARD COSTS AND FEES

         PLEASE TAKE NOTICE that, upon the accompanying Declaration of Courtney S. Stieber,

Esq., together with Exhibits A through J annexed thereto; Memorandum of Law In Support; and

upon all the pleadings and proceedings herein, Defendant Indeed, Inc. (“Indeed”), by and through

its undersigned counsel, Seyfarth Shaw LLP and Waller Lansden Dortch & Davis, LLP, and

Defendants Alexa Wachstein, Gabrielle Verbaro, and Michelle Lam, by and through their

undersigned counsel, Waller Lansden Dortch & Davis, LLP, (collectively with Indeed, the “Indeed

Defendants”) will move this Court, at a date and time to be determined by the Court, before the

Honorable Lewis J. Liman, United States District Judge, at the United States District Court for the

Southern District of New York, Thurgood Marshall U.S. Courthouse located at 40 Foley Square,

New York, New York 10007, for an Order: (i) granting the Indeed Defendants’ motion to compel

arbitration pursuant to pursuant to the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and Rules

12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure; and (ii) granting such other and

further relief as the Court may deem just and proper.


64889583v.1
              Case 1:20-cv-03826-LJL Document 29 Filed 07/17/20 Page 2 of 3




Dated: New York, New York
       July 17, 2020                            Respectfully submitted,
                                                SEYFARTH SHAW LLP

                                                By     /s/ Courtney S. Stieber
                                                      Courtney S. Stieber
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                                                Attorneys for Defendant Indeed, Inc.

                                                WALLER LANSDEN DORTCH & DAVIS,
                                                LLP

                                                By     /s/ Aron Z. Karabel
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                                                Co-counsel for Defendant Indeed, Inc.

                                                Attorneys for Defendants Alexa Wachstein,
                                                Gabrielle Verbaro and Michelle Lam




                                            2
64889583v.1
              Case 1:20-cv-03826-LJL Document 29 Filed 07/17/20 Page 3 of 3




                                  CERTIFICATE OF SERVICE

         I, Courtney S. Stieber, an attorney, do hereby certify that on this July 17, 2020, I served a

copy of the NOTICE OF MOTION, DECLARATION OF COURTNEY S. STIEBER, ESQ., TOGETHER WITH

EXHIBITS A THROUGH J ANNEXED THERETO, AND MEMORANDUM OF LAW IN SUPPORT OF THE

INDEED DEFENDANTS’ MOTION TO COMPEL ARBITRATION, DISMISS CLAIMS AGAINST THEM, OR

IN THE ALTERNATIVE STAY THE PROCEEDINGS, AND AWARD COSTS AND FEES via ECF, which

sent a copy of this filing to all counsel of record.



                                                       _/s/ Courtney S. Stieber____
                                                       Courtney S. Stieber




                                                   3
64889583v.1
